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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR17-0203-JCC
10                             Plaintiff,                     ORDER
11          v.

12   DARRYL KILGORE,

13                             Defendant.
14

15          This matter comes before the Court sua sponte. The Court previously vacated the trial
16   date in this case and set the matter for an October 6, 2020 status conference, holding that the time
17   between the date of the Court’s order and the date of the status conference should be excluded
18   under the Speedy Trial Act due to COVID-19’s impact on this Court’s operations. (Dkt. Nos.
19   292, 293, 306, 319.)
20          Over the past six months, the COVID-19 pandemic has significantly impacted the
21   Court’s operations. (See General Orders 01-20, 02-20, 07-20, 08-20, 11-20, 13-20, 15-20 each of
22   which the Court incorporates by reference.) Specifically, the pandemic has rendered the Court
23   unable to obtain an adequate spectrum of jurors to represent a fair cross section of the
24   community, and public health guidance has impacted the ability of jurors, witnesses, counsel,
25   and Court staff to be present in the courtroom. (See generally id.) While conditions have
26   improved, the Court does not anticipate that the pandemic’s impacts will sufficiently resolve in


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 1   the near term to conduct Defendant’s trial. Accordingly, the Court now FINDS the ends of

 2   justice served by extending the trial to February 2021 and that this outweighs Defendant’s and

 3   the public’s best interests to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this

 4   finding are:

 5          1. The COVID-19 pandemic has rendered the Court unable to obtain an adequate

 6              spectrum of jurors to represent a fair cross section of the community, which would

 7              likely make proceeding in the near term impossible or, at a minimum, would result in

 8              a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).
 9          2. Public health guidance has impacted the ability of jurors, witnesses, counsel, and
10              Court staff to be present in the courtroom. Therefore, proceeding in the near term
11              would likely be impossible. See 18 U.S.C. § 3161(h)(7)(B)(i).
12   Accordingly, the Court ORDERS:
13          1. Trial in this matter is scheduled for February 8, 2021.
14          2. The pretrial motions deadline is December 15, 2020.
15          3. The period from the date of this order to the new trial date, February 8, 2021 is an
16              excludable time period under 18 U.S.C. section 3161(h)(7)(A).
17          4. The status conference scheduled for October 6, 2020 is VACATED.
18          5. Defendant’s motion for remote video hearing (Dkt. No. 325) is DENIED as moot.

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20          DATED this 2nd day of October 2020.




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                                                           John C. Coughenour
24                                                         UNITED STATES DISTRICT JUDGE
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